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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

DAKOTA HOLT,                            )
                                        )
      Plaintiff,                        )
                                        )       CIVIL ACTION
v.                                      )
                                        )       FILE No. 4:21-cv-00006-TCB
NEELKANTH 101211 LLC,                   )
                                        )
      Defendant.                        )

                           NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that all claims pending in this matter have

been resolved to the satisfaction of Plaintiff and Defendant. Plaintiff hereby

respectfully requests that this Court allow sixty (60) days within which to complete

the settlement, during which time Plaintiff requests that the Court retain

jurisdiction over this matter until fully resolved. Should Plaintiff not move to

reinstate the case or seek other Court intervention in the next sixty (60) days,

Plaintiff requests the Court dismiss this case with prejudice at that time.

                                        Dated: February 10, 2021.

                                        Respectfully submitted,

                                        /s/Craig J. Ehrlich
                                        Craig J. Ehrlich
                                        Georgia Bar No. 242240
                                        The Law Office of Craig J. Ehrlich, LLC

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                                         Atlanta, Georgia 30306
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                                         Fax: (855) 415-2480
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                         CERTIFICATE OF SERVICE

      I certify that on February 10, 2021, I filed the within and foregoing Notice of

Settlement using the CM/ECF System for the federal District Court for the

Northern District of Georgia, resulting in a true and correct copy of the same to be

served via electronic mail as follows:

David Jaffer, Esq.
Mary E. Meyer, Esq.
The Jaffer Law Firm, LLC
3538 Habersham at Northlake Road, Building D
Tucker, Georgia 30084
Fax: (404) 659-3274
djaffer@jafferlaw.com
mmeyer@jafferlaw.com

                                         /s/Craig J. Ehrlich
                                         Craig J. Ehrlich




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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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